        Case 1:20-cv-00164-GSK Document 72               Filed 08/18/22     Page 1 of 22




                                           Slip Op. 22-
                  UNITED STATES COURT OF INTERNATIONAL TRADE


  ALL ONE GOD FAITH, INC., D/B/A
  DR. BRONNER’S MAGIC SOAPS, et al.,

                       Plaintiffs,

            v.
                                                            Before: Gary S. Katzmann, Judge
  UNITED STATES,                                            Consol. Court No. 20-00164

                       Defendant,                           PUBLIC VERSION

            and

  CP KELCO U.S., INC.,

                       Defendant-Intervenor.



                                            OPINION

[The court grants the United States’ motion to dismiss Dr. Bronner’s complaint for lack of subject-
matter jurisdiction, dismisses */ǀ%’s complaint for lack of subject-matter jurisdiction, and denies
plaintiffs’ remaining motions for judgment on the agency record.]
                                                                    Dated: August 18, 2022

Laura A. Moya and Robert Snyder, Law Offices of Robert W. Snyder, of Irvine, CA, for Plaintiff
All One God Faith, Inc., d/b/a Dr. Bronner’s Magic Soaps.

Kyl J. Kirby, Kyl J. Kirby, Attorney and Counselor at Law, P.C., of Fort Worth, TX, for
Consolidated Plaintiffs Ascension Chemicals LLC, 80' 6ROXWLRQV //& */ǀ% (QHUJ\
Corporation, and Crude Chem Technology LLC.
Kelly A. Krystyniak, Trial Attorney, Commercial Litigation Branch, Civil Division, U.S.
Department of Justice, of New York, N.Y., for Defendant United States. With her on the brief
were Brian M. Boynton, Acting Assistant Attorney General, Patricia M. McCarthy, Director, and
L. Misha Preheim, Assistant Director. Of counsel on the brief was Tamari J. Lagvilava, Office of
Assistant Chief Counsel, U.S. Customs and Border Protection, of New York, N.Y.

Matthew J. Clark, ArentFox Schiff LLP, of Washington, D.C., for Defendant-Intervenor CP Kelco
U.S., Inc.
        Case 1:20-cv-00164-GSK Document 72                Filed 08/18/22     Page 2 of 22

Consol. Court No. 20-00164                                                                    Page 2
PUBLIC VERSION

       Katzmann, Judge: Xanthan gum is a fermented polysaccharide gum used in a variety of

industries as a thickening, stabilizing, or emulsifying agent: for example, to increase viscosity and

stickiness in doughs and sauces, to prevent separation and ensure uniform texture in industrial

liquids, soaps, and cosmetics, and to preserve or enhance a variety of foods. It now comes before

the court as a result of a determination of evasion by U.S. Customs and Border Protection (“CBP”),

which has occasioned an appeal that presents a number of sticky jurisdictional, procedural, and

substantive issues for the court’s review.

       This litigation arises from the determination that xanthan gum from the People’s Republic

of China (“PRC”) was being transshipped though India in an effort to evade antidumping duties

imposed by the U.S. Department of Commerce’s (“Commerce”) antidumping duty order, namely

the Chinawide entity rate applied to xanthan gum from PRC.1 Claiming that the entries should be

subject to a 0.00% duty rate, importers Plaintiff All One God Faith, Inc. d/b/a Dr. Bronner’s Magic

Soaps (“Dr. Bronner’s”) and Consolidated Plaintiffs */ǀ% (QHUJ\ &RUSRUDWLRQ ³*/ǀ%”),

Ascension Chemicals LLC (“Ascension”), UMD Solutions LLC (“UMD”), and Crude Chem

Technology LLC (“Crude”) each challenge CBP’s determination as arbitrary, capricious, and an

abuse of discretion. Thickening the plot further, Defendant the United States (“the Government”)

contends that Dr. Bronner’s claims must be dismissed because its time to appeal the liquidation of

its merchandise to this court has expired without action. The court concludes that it lacks

jurisdiction over */ǀ% and Dr. Bronner’s challenges to CBP’s liquidation of the disputed

merchandise because the relevant entries have been finally liquidated. As to Ascension, UMD,

and Crude, whose entries have not been finally liquidated, the court concludes that CBP’s


1
 See Xanthan Gum from the People’s Republic of China: Am. Final Determ. of Sales at Less
Than Fair Value and Antidumping Duty Order, 78 Fed. Reg. 43,143 (Dep’t Commerce Jul. 19,
2013) (“AD Order”).
        Case 1:20-cv-00164-GSK Document 72                  Filed 08/18/22      Page 3 of 22

Consol. Court No. 20-00164                                                                        Page 3
PUBLIC VERSION

determination was not arbitrary and capricious, and was supported by substantial evidence.

Accordingly, Defendant’s motion to dismiss is granted and Plaintiff’s and Consolidated Plaintiffs’

motions for judgment on the agency record are denied.

                                          BACKGROUND

        I.      Legal Framework

        To level the playing field for domestic industries, tKH (QIRUFH DQG 3URWHFW $FW RI 

³($3$´ FRGLILHGDW86&HPSRZHUV&%3WRLQYHVWLJDWHDOOHJDWLRQVWKDWDQLPSRUWHU

has evaded antidumping or countervailing duties. See generally CBP, Trade Facilitation and Trade

(QIRUFHPHQW $FW RI —Overview, CBP.gov (Oct. 2016) https://www.cbp.gov/sites/default/

files/assets/documents/2016Oct/Trade%20Facilitation%20aQG7UDGH(QIRUFHPHQW$

FWRI-%20Overview.pdf.              Specifically, the statute provides that CBP must,

within fifteen days of receiving an allegation of evasion, determine whether the information

provided in that allegation “reasonably suggests that covered merchandise has been entered into

WKH    8QLWHG 6WDWHV WKURXJK HYDVLRQ´   86&   b)(1). If so, CBP must initiate an

investigation and, within 300 days of initiation, “make a determination, based on substantial

evidence, with respect to whether such covered merchandise” was indeed entered through evasion.

86& F  $ )RU($3$SXUSRVHV, “evasion” is defined as:

        >(@ntering covered merchandise into the customs territory of the United States by
        means of any document or electronically transmitted data or information, written
        or oral statement, or act that is material and false, or any omission that is material,
        and that results in any cash deposit or other security or any amount of applicable
        antidumping or countervailing duties being reduced or not being applied with
        respect to the merchandise.
 86&   D  $       In essence, “evasion” can be broken down into three distinct

components: (1) merchandise subject to an antidumping or countervailing duty order must be
        Case 1:20-cv-00164-GSK Document 72              Filed 08/18/22     Page 4 of 22

Consol. Court No. 20-00164                                                                   Page 4
PUBLIC VERSION

entered into the United States (2) by means of falsified or incomplete documentation such that (3)

the applicable duties or deposits owed on that merchandise are either foregone or reduced.

       II.     Factual Background

       Plaintiffs and Consolidated Plaintiffs are manufacturers and distributors of personal care

products, pharmaceutical and research chemicals, and oilfield products, including drilling fluid

additives.   Compl. at 3, Aug. 26  (&) 1R ; About, */ǀ% (QHUJ\ &RUS

https://www.globenergy.net/about (last visited Aug. 17, 2022); About Us, Ascension Chemical,

https://ascensionchemical.com/pages/about-us (last visited Aug. 17, 2022); About Us, UMD

Solutions, http://umdsolutions.com/about-us/ (last visited Aug. 17, 2022); About Us, CrudeChem

Technology, https://crudechem.com/about-us/ (last visited Aug. 17, 2022). They are also all

importers of xanthan gum. 2 Compl. at 3, */ǀ% (QHUJ\&RUSY8QLWHG6WDWHV1R-cv-00161

(CIT Aug. 26, 2020), (&)1R (“*/ǀ% Compl.”); Compl. at 3, Ascension Chems. LLC v. United

States, No. 20-00160 (CIT Aug. 26, 2020), (&)1R (“Ascension Compl.”); Compl. at 3, UMD

Sols. LLC v. United States, No. 20-00162 (CIT Aug. 26, 2020)(&)1R (“UMD Compl.”);

Compl. at 3, Crude Chem Tech. LLC v. United States, No. 20- &,7$XJ (&F

No. 4 (“Crude Compl.”); see &)5 VHWWLQJRXWWKHQDWXUHDQGXVHVRI[DQWKDQJXP .

               A.     The EAPA Investigation

       The dispute now before the court originated in a letter submitted to CBP by CP Kelco U.S.,

Inc. (“CP Kelco”) on December 17, 2018. See generally($3$$OOHJDWLRQ (Dr. Bronner’s) (Dec.

17, 2018), P.D. 2. The letter alleged that Dr. Bronner’s had been importing “significant volumes

of xanthan gum from . . . India” which was in reality of Chinese origin, as evident from the fact


2
  Defendant-Intervenor CP Kelco U.S., Inc. is not an active participant in this litigation, but is
similarly a domestic manufacturer of [DQWKDQJXP0RWWR,QWHUYHQHDW6HSW(&)
No. 11.
          Case 1:20-cv-00164-GSK Document 72             Filed 08/18/22     Page 5 of 22

Consol. Court No. 20-00164                                                                  Page 
PUBLIC VERSION

that “xanthan gum is only manufactured in four countries worldwide: Austria, France, China, and

the United States.” Id. at 4. Accordingly, CP Kelco requested that CBP investigate Dr. Bronner’s

for potential evasion of the antidumping duty order on xanthan gum from PRC through illegal

transshipment. 3 Id. DWsee also AD Order. On March 8, 2019, CP Kelco revised and expanded

its allegations against Dr. Bronner’s and filed additional allegations of xanthan gum transshipment

against */ǀ%, Ascension, UMD, and Crude. 5HYLVHG($3$$OOHJDWLRQ 'U%URQQHU¶V 3'–

($3$$OOHJDWLRQ */ǀ% 3'($3$$OOHJDWLRQ $VFHQVLRQ 3'($3$$OOHJDWLRQ

80' 3'($3$$OOHJDWLRQ &UXGH 3'2Q$XJXVW&%3, through its Trade

Remedy and /DZ(QIRUFHPHQW'LYLVLRQ ³75/('´ LQLWLDWHGDQ($3A investigation of all five

importers. Notice of Investigation (CBP Aug. 12, 2019), P.D. 92, C.D. 40.



3
    The AD Order assigned weighted-average dumping margins as follows:

                                                                               Weighted-average
                 ([SRUWHU                            Producer                   dumping margin
                                                                                   (percent)
    Neimenggu Fufeng                Neimenggu Fufeng                           12.90
    Biotechnologies Co., Ltd (aka Inner
                                    Biotechnologies Co., Ltd. (aka
    Mongolia Fufeng Biotechnologies Inner Mongolia Fufeng
    Co., Ltd.) / Shandong Fufeng    Biotechnologies Co., Ltd.) /
    Fermentation Co., Ltd.          Shandong Fufeng Fermentation
                                    Co., Ltd.
 Deosen Biochemical Ltd.            Deosen Biochemical Ltd. / Deosen 128.32
                                    Biochemical (Ordos) Ltd.
 A.H.A. International Co., Ltd.     Shandong Fufeng Fermentation       70.61
                                    Co., Ltd.
 A.H.A. International Co., Ltd.     Deosen Biochemical Ltd.            70.61
 CP Kelco (Shandong) Biological     Kelco (Shandong) Biological        70.61
 Company Limited                    Company Limited
 Hebei Xinhe Biochemical Co. Ltd. Hebei Xinhe Biochemical Co. Ltd. 70.61
 Shanghai Smart Chemicals Co. Ltd. Deosen Biochemical Ltd.             70.61
 PRC-:LGH(QWLW\                                                       
 7KH35&-wide entity LQFOXGHV6KDQGRQJ<L/LDQ&RVPHWLFV&R/WG6KDQJKDL(FKHP)LQH
Chemicals Co., Ltd., Sinotrans Xiamen Logistics Co., Ltd., and Zibo Cargill HuangHelong
Bioengineering Co., Ltd.
        Case 1:20-cv-00164-GSK Document 72                Filed 08/18/22     Page 6 of 22

Consol. Court No. 20-00164                                                                   Page 6
PUBLIC VERSION

       On March 9, 2020, 75/(' issued a final determination in which it concluded that there

was “substantial evidence that [the importers] entered into the customs territory of the United

States through evasion merchandise covered by the antidumping duty (“AD”) order . . . on xanthan

gum from the People’s Republic of China.” Notice of Final DeWHUPLQDWLRQDVWR(YDVLRQDW–2

(CBP Mar. 9, 2020), P.D. 288, C.D. 113 (“Initial ($3$ 'HWHUPLQDWLRQ´   ,Q UHDFKLQJ LWV

determination, CBP relied upon (1) “[e]ach importer’s failure to submit any information to CBP

demonstrating that the merchandise was produced in India,” and (2) “the information provided by

[CP Kelco] and available from other sources (e.g. Panjiva, Indian supplier websites, etc.) regarding

xanthan gum import trends and the lack of xanthan gum production in India,” in addition to the

following importer-specific factors. Initial ($3$'HWHUPLQDWLRQDW–3.

                       1.     Dr. Bronner’s

       With respect to Dr. Bronner’s, 75/(' rejected Dr. Bronner’s argument that there was no

evasion because the xanthan gum in question (1) was not “covered merchandise” for purposes of

an evasion determination, and (2) was properly subject to a 0.00% cash deposit rate such that there

was no reduction in duties paid. 4 Specifically, Dr. Bronner’s argued that because the imported

xanthan gum was manufactured and exported by excluded Chinese exporter [[

                                                           ]], and because the Indian exporter [[

         ]] was not included in the AD Order and thus lacked an express cash deposit rate of its

own, the xanthan gum in question would properly be subject to the 0.00% cash deposit rate



4
  Dr. Bronner’s did not dispute that the merchandise was entered by means of a material
misstatement (namely, as Indian- rather than Chinese-origin xanthan gum). See Letter from R.
6Q\GHUWR'$XJXVWLQUH6XEPLVVLRQRI:ULWWHQ$UJ3XUVXDQWWR&)5 DW -DQ
2020) P.D. 264 (noting that “Dr. Bronner’s fully acknowledges and regrets its inadvertent
reporting of an incorrect country of origin for the xanthan gum imported under the entries subject
WRWKH($3$,QYHVWLJDWLRQ´E\&%3 
        Case 1:20-cv-00164-GSK Document 72                   Filed 08/18/22     Page 7 of 22

Consol. Court No. 20-00164                                                                      Page 7
PUBLIC VERSION

applicable to the excluded exporter.       Id. at 7.     75/(' concluded that this argument was

unconvincing because (1) [[               ]], having expressly admitted it exported Chinese-origin

xanthan gum to Dr. Bronner’s, was not an excluded exporter for purposes of the AD Order, and

(2) neither [[           ]] nor Dr. Bronner’s had provided any production information indicating

that the specific xanthan gum imported into the United States was manufactured by [[

       ]] or another excluded entity. Id. at 7–8. 75/(' also rejected the documentary evidence

allegedly showing [[                        ]] involvement after concluding that none of the digital

records provided by Dr. Bronner’s clearly originated with [[

]], and that the photographic records submitted were both contradictory (insofar as they indicate

the merchandise was not imported by [[                 ]]) and unreliable (because they were not relied

upon by Dr. Bronner’s in the course of its initial import of the xanthan gum in question). Id. at 9–

11. Ultimately, 75/('concluded that the lack of reliable information on the record and lack of

cooperation from Dr. Bronner’s and [[               ]] supported a finding of evasion. Id. at 11.

                        2.      */ǀ%, Ascension, UMD, Crude

        With respect to each of the Consolidated Plaintiffs, 75/(' likewise rejected the argument

that there was no evasion because the xanthan gum in question (1) was not “covered merchandise”

for purposes of an evasion determination, and (2) was properly subject to a 0.00% cash deposit

rate such that there was no reduction in duties paid.  Id. DW–6, 13–16. Although Consolidated

Plaintiffs, like Dr. Bronner’s, claimed that a [[                 ]] entity was the original producer of

the imported xanthan gum, 75/(' explained that the third-party Import Genius database

information submitted in support of this claim was inadequate. Id. DW Specifically,



  Like Dr. Bronner’s, */ǀ%, Ascension, UMD, and Crude do not contest that the entry of the
subject merchandise as Indian- rather than Chinese-origin xanthan gum was a material
misstatement.
        Case 1:20-cv-00164-GSK Document 72               Filed 08/18/22    Page 8 of 22

Consol. Court No. 20-00164                                                                 Page 8
PUBLIC VERSION

75/(' noted that “guesses derived from shipment information of a third party source” are no

substitute for “documentation demonstrating the actual manufacturer and exporter of the specific

merchandise in question.” Id. 75/(' also explained that the Import Genius data only identifies

a “shipper” for given entries, with no reference to manufacturers, producers, or exporters. Id.

Ultimately, 75/(' concluded that the lack of information provided and lack of cooperation from

Consolidated Plaintiffs and their Indian exporter Chem Fert supported a finding of evasion. Id.

6HSDUDWHO\75/('DOVRUHMHFWHG&RQVROLGDWHG3ODLQWLIIV¶DUJXPHQWWKDWWKHPLVLGentification of

the subject merchandise was clerical error rather than a material misstatement because “it [was]

evident that [Consolidated Plaintiffs] LQWHQGHG WR UHSRUW WKH HQWULHV DV (QWU\ 7\SH 

(‘Consumption – Free and Dutiable’) entries of merchandise of Indian origin.” Id. at 7 n.18, 13

QQQ

               B.      The Administrative Review

       All five importers sought administrative review of 75/('¶V decision, and on July 16,

2020, CBP’s Office of Regulations and Rulings (“ORR”) issued a de novo ruling affirming the

Initial ($3$'HWHUPLQDWLRQ$GPLQLVWUDWLYH5HYLHZ'HWHUPLQDWLRQUH(QIRUFHDQG3URWHFW$FW

Case Number 7281 (CBP Jul. 16, 2020), P.D. 3 &' –116                   ³($3$ 5HYLHZ

Determination”).

       With respect to Dr. Bronner’s, ORR reiterated 75/('¶V conclusions that [[                ]]

was not the producer of Dr. Bronner’s xanthan gum imports, which in fact were likely produced

by “a single Chinese entiW\´($3$5HYLHZ'HWHUPLQDWLRQDW$VQHLWKHU>>              ]] nor

Dr. Bronner’s provided evidence that the Chinese producer was excluded from the AD Order (as

a [[                ]] entity or otherwise) ORR likewise joined 75/(' in finding that the disputed

xanthan gum imports were covered merchandise. Id. at 10. ORR went on to note that Dr.
        Case 1:20-cv-00164-GSK Document 72                  Filed 08/18/22      Page 9 of 22

Consol. Court No. 20-00164                                                                      Page 9
PUBLIC VERSION

Bronner’s entered the covered merchandise by means of “material and false documents or

statements,” including “false certificates of origin” and identifications. Id. at 11. Because “there

[was] not enough evidence in the record to demonstrate the identity of the specific Chinese

producer/exporter of the subject merchandise,” ORR concluded there was “insufficient evidence

to show that the entries were in fact subject to a 0.00% cash deposit rate.” Id. at 11. As the falsified

documentation resulted in “no cash deposits [being] applied to the merchandise” with no evidence

that a 0.00% rate was appropriate, ORR therefore found that Dr. Bronner’s indeed “entered

covered merchandise by means of material and false documents or statements that resulted in the

avoidance of applicable [antidumping duty] cash deposits being collected on such merchandise.”

Id. )LQDOO\ 255 UHMHFWHG 'U %URQQHU¶V DUJXPHQW WKDW 75/(' LQFRUUHFWO\ DSSOLHG DGYHUVH

LQIHUHQFHVSXUVXDQWWR&)5. Id. at 13. ORR instead concluded both that adverse

inferences were properly applied to fill “evidentiary gaps” resulting from Dr. Bronner’s failure to

submit evidence indicating that the xanthan gum was produced in PRC by an entity subject to a

0.00% cash deposit rate, and that even without such inferences a determination of evasion would

be proper. Id. at 14.

       With respect to Consolidated Plaintiffs, 255DOVRDIILUPHGWKHFRQFOXVLRQVRI75/('

First, ORR noted that “substantial record evidence indicates that the actual country of origin of the

xanthan gum entered” by Consolidated Plaintiffs was China, not India. Id. DW,QVXSSRUWRI

this conclusion, ORR pointed to statements by Consolidated Plaintiffs’ shared importer, Chem

Fert. Id. In relevant part, Chem Fert reported to CBP that “it imports the xanthan gum into India

and then repacks [it]” for export, and that Consolidated Plaintiffs “knew this fact very well” and

had expressly requested that Chem Fert “import [xanthan gum] from China and thereafter repack

it into India and export it to the United States.” Id. Next, ORR concluded that Consolidated
        Case 1:20-cv-00164-GSK Document 72                    Filed 08/18/22      Page 10 of 22

Consol. Court No. 20-00164                                                                         Page 10
PUBLIC VERSION

Plaintiffs had indeed engaged in illegal evasion of the AD Order. Id. DW6SHFLILFDOO\255

determined that Consolidated Plaintiffs “engaged in evasion because the Chinese-origin xanthan

gum was identified as Type ‘01’ with India as the country of origin at the time of entry, and no

cash deposits were applied to the merchandise” resulting in the “avoidance of applicable AD cash

deposits.” Id. DW–16. In so doing, ORR again rejected Consolidated Plaintiffs’ argument that

the misidentification of the subject merchandise was clerical error rather than a material

misstatement, noting that they “consciously declared WKHPHUFKDQGLVHDVRI,QGLDQRULJLQDQG(QWU\

Type 01 (‘Consumption – Free and Dutiable’)” and “that the declarations were (even if

unwittingly) based on false facts, does not make them the result of clerical error.” Id. at 18.

                C.      The Instant Appeal

        Dr. Bronner’s, */ǀ%, Ascension, UMD and Crude separately sought the court’s review of

CBP’s determinations on August 26, 2020. See Compl.; Ascension Compl. 6 In their complaints,

Dr. Bronner’s and the Consolidated Plaintiffs each asserted jurisdiction pursuant to 19 U.S.C.

  J DQG86& F DQGchallenged CBP’s determination of evasion with respect

to their entries of xanthan gum between April 16, 2018, and the conclusion of CBP’s investigation

RQ 0DUFK   WKH ³6XEMHFW (QWULHV´  Id.         2Q 2FWREHU   WKH ILYe cases were

FRQVROLGDWHG XQGHU WKH SUHVHQW DFWLRQ  2UGHU (&) 1R   7KHUHDIWHU 'U %URQQHU¶V DQG WKH

Consolidated Plaintiffs each filed motions for judgment on the agency record. Pl. All One God

Faith, Inc.’s Mot. for J. on the Agency R., Feb. 16, 2021, (&)1R (“Pl.’s Br.”); Pl.’s Mot. For

-8SRQWKH$JHQF\53XUVXDQWWR5XOH)HE(&)1R ³Consol. Pls.’ Br.”).

On August 2, 2021, the Government responded in opposition. Def.’s Partial Mot. to Dismiss and



6
 As the Consolidated Plaintiffs’ filings are substantively identical, the court will cite to
Ascension’s filings throughout, except where a specific party’s arguments or entries are addressed.
       Case 1:20-cv-00164-GSK Document 72                 Filed 08/18/22      Page 11 of 22

Consol. Court No. 20-00164                                                                    Page 11
PUBLIC VERSION

5HVSWR3OV¶0RWVIRU-8SRQWKH$GPLQ5(&)1R6LPXOWDQHRXVO\WKH*RYHUQPHQW

moved to dismiss Dr. Bronner’s complaint on the basis that Dr. Bronner’s protested CBP’s

liquidation of its entries but had “failed to timely appeal the denial of those protests” to the court.

Def.’s Partial Mot. to Dismiss and Resp. to Pls’ Mots. for J. Upon the Agency R., Aug. 2, 2021,

(&)1R (“Def.’s Resp.”). All parties replied in support of their motions. Pl. All One God

Faith, Inc.’s Resp. in Opp. to Def.’s Partial Mot. to Dismiss and Reply in Further Supp. of its Mot

for J. on the Agency R., Sept. 1, 2021(&)1R (“Pl.’s Reply”); Pl.’s Reply to Def.’s Opp. to

3O¶V50RWIRU-8SRQWhe Agency R., Sept. 1, 202(&)1R (“Consol. Pls.’ Reply”);

'HI¶V5HSO\LQ6XSSRILWV3DUWLDO0RWWR'LVPLVV6HSW(&)1R ³'HI¶V5HSO\´ 

       In response to questions from the court, the parties each filed a supplemental brief in

anticipation of oral argument. Pl. All One God Faith Inc.’s Resps. to Ct.’s Qs. for Oral Arg. Issued

)HE)HE(&)1R ³3O¶V2$45HVSV´ &RQVRO Pls.’ Resp. to Qs. for Oral

$UJ)HE(&)1R ³&RQVRO Pls.’ OAQ Resps.”); Def.’s Resp. to the Ct.’s Qs., Feb.

  (&) 1R  ³'HI¶V 2$4 5HVSV´ . Oral argument on both motions was held on

)HEUXDU\2UDO$UJXPHQW(&)1R. Thereafter, on February 22, 2022, the parties

each submitted a post-argument brief. Pl. All One God Faith, Inc.’s Post-Oral Arg. Submission,

(&)1R ³3O¶V6XSSO%U´ &RQVRO Pls.’ Post.-$UJ6XEPLVVLRQ)RU2UDO$UJ(&)1R

(“Consol. Pls.’ Suppl. Br.”); Def.’s Post-$UJ6XEPLVVLRQ(&)1R ³'HI¶V6XSSO%U´ 

               D.      The Subject Entries

       Ultimately, the following entries subject to CBP’s Initial ($3$'HWHUPLQDWLRQDQG($3$

Review Determination WRJHWKHU³($3$'HWHUPLQDWLRQV´ are currently before the court:
       Case 1:20-cv-00164-GSK Document 72                 Filed 08/18/22      Page 12 of 22

Consol. Court No. 20-00164                                                                   Page 12
PUBLIC VERSION

                               Date                    Date           Date
   Importer          Entry No.                                                          Status
                             Entered                Liquidated      Protested
 Dr. Bronner’s (5:-10387009 0              04/19/2019     9/12/2019     Denied 4/09/2020
 Dr. Bronner’s (5:-10398428 07/19/2018              04/24/2020     11/21/2019    Denied 4/21/2020
 Dr. Bronner’s (5:-10420743               04/24/2020     11/21/2019    Denied 4/21/2020
 */ǀ%            01/06/2019              10/04/2019     03/02/2020    Denied 7/08/2021
 */ǀ%            03/06/2019              10/04/2019     03/02/2020    Denied 7/08/2021
 Ascension     CFL00044009  11/29/2018              10/04/2019     03/02/2020    Suspended
 Ascension     &)/  12/20/2018              10/04/2019     03/02/2020    Suspended
 Ascension     &)/  01/19/2019              10/04/2019     03/02/2020    Suspended
 Ascension     &)/  01/19/2019              10/04/2019     03/02/2020    Suspended
 Ascension     &)/  01/30/2019              10/04/2019     03/02/2020    Suspended
 Ascension     CFL00046368  03/14/2019              10/04/2019     03/02/2020    Suspended
 Ascension     &)/  10/17/2018              10/04/2019     03/02/2020    Suspended
 UMD           .0 08/16/2018               10/04/2019     03/02/2020    Suspended
 UMD           .0 11/28/2018               10/04/2019     03/02/2020    Suspended
 UMD           .0 12/20/2018               10/04/2019     03/02/2020    Suspended
 Crude           03/06/2019              10/11/2019     04/08/2020    Suspended
 Crude           01/06/2019              10/11/2019     04/08/2020    Suspended

See Consol. 3OV¶2$45HVSVDW(['HI¶V6XSSO%UDW'HI¶V5HVSDW ([

                      JURISDICTION AND STANDARD OF REVIEW

       In general, the court has jurisdiction over a determination of evasion pursuant to 28 U.S.C.

 F ZKLFKJUDQWVH[FOXVLYHMXULVGLFWLRQRYHU³DQ\FLYLODFWLRQFRPPHQFHGXQGHU>86&

 $ RU @´ DQG SXUVXDQW WR  86&   J  ZKLFK SURYLGHV WKDW DQ LPSRUWHU

“determined to have entered . . . covered merchandise through evasion . . . may seek judicial

review” of the determination and CBP’s review thereof. The latter section also sets out the

standard of review, stating that for a determination of evasion under subsection (c) or an

administrative review of such determination under subsection (f), “the United States Court of

International Trade shall examine . . . whether [CBP] fully complied with all procedures under

subsections (c) and (f); and . . . whether any determination, finding, or conclusion is arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.”              19 U.S.C.

  J  $ –(B).
       Case 1:20-cv-00164-GSK Document 72                Filed 08/18/22     Page 13 of 22

Consol. Court No. 20-00164                                                                  Page 13
PUBLIC VERSION

       To survive review under the arbitrary and capricious standard, a determination of evasion

must have “examined ‘the relevant data’ and articulated ‘a satisfactory explanation’ for [its]

decision, ‘including a rational connection between the facts found and the choice made.’” Dep’t

of Com. v. New York6&W   TXRWLQJMotor Vehicle Mfrs. Ass’n of U.S.,

Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)); see also Citizens to Pres. Overton

Park, Inc. v. Volpe, 401 U.S. 402, 419 (1971) (agencies must provide adequate reasons for their

decisions). Similarly, “[a]n abuse of discretion occurs where the decision is based on an erroneous

interpretation of the law, on factual findings that are not supported by substantial evidence, or

represents an unreasonable judgment in weighing relevant factors.” Star Fruits S.N.C. v. United

States  )G   )HG &LU   FLWDtion omitted). The court’s review of CBP’s

“determination as to evasion may encompass interim decisions subsumed into the final

determination.” Diamond Tools Tech. LLC v. United States&,7BBBB)6XSSG

1331 (2021) (quoting Vietnam Firewood Co. Ltd. v. United States&,7BBBB)6XSS

3d 1273, 1284 (2020)).

       The jurisdictional grant over CBP’s determination of evasion effectuated by 19 U.S.C.

  J DQG86&  F does not, however, encompass the contestation of liquidation

(erroneous or otherwise) of an entry subject to such determination. The only mentions of

OLTXLGDWLRQ LQ  86&   EURDGO\ are LQ  86&   H  , which provides for

VXVSHQVLRQRIOLTXLGDWLRQGXULQJ&%3¶V($3$ LQYHVWLJDWLRQDQG86& G  $ L 

which provides that upon determination of evasion CBP shall likewise “suspend the liquidation of

unliquidated entries of such covered merchandise that are subject to the determination and that

enter on or aIWHUWKHGDWHRIWKHLQLWLDWLRQRIWKH>($3$@LQYHVWLJDWLRQ´7KLVLVPDQLIHVWO\QRWD

grant of authority to the courts.
       Case 1:20-cv-00164-GSK Document 72                   Filed 08/18/22      Page 14 of 22

Consol. Court No. 20-00164                                                                       Page 14
PUBLIC VERSION

       Accordingly, to the extent an importer wishes to appeal the liquidation of its merchandise

either before or after a determination of evasion, that appeal must traverse the typical channels.

Where erroneous liquidation has occurred -- including where CBP has failed to comply with 19

86& G  $ L ¶VUHTXLUHPHQWWKDWLWVXVSHQGWKHOLTXLGDWLRQRIVXEMHFWPHUFKDQGLVH--

the aggrieved importer must first file a protest specifying CBP’s error as set out in 19 U.S.C.

  F  Only upon the denial of such protest, or upon the denial of an application for further

administrative review of a denied protest, may an importer then appeal the liquidation to this court.

86&  D  F 86&  D If no protest is filed, or if a protest is filed

and denied but not appealed, even erroneous liquidation “shall be final and conclusive upon all

persons (including WKH8QLWHG6WDWHVDQGDQ\RIILFHUWKHUHRI ´86& D  The court

thus has jurisdiction over timely appealed protests, but lacks jurisdiction over finally liquidated

entries, pursuant to 86& D and (a), and 86& D 

                                            DISCUSSION

       As has been noted, 'U%URQQHU¶VDQGWKH&RQVROLGDWHG3ODLQWLIIVQRZFRQWHVWWKH($3$

Determinations as arbitrary, capricious, and an abuse of discretion. The Government responds that

  WKH FRXUW ODFNV MXULVGLFWLRQ RYHU 'U %URQQHU¶V DQG */ǀ%¶V HQWULHV VXFK WKDW WKH\ PXVW be

dismissed, and (2) with respect to the entries within the jurisdiction of the court, CBP did not act

arbitrarily and capriciously or abuse its discretion in declining to refer a changed circumstances

review to Commerce, or in applying adverse inferences against the alleged foreign manufacturers

RIWKH6XEMHFW(QWULHV'HI¶V%UDW–29.

       I.      The Liquidated Entries

       To adjudicate a case, the court must have subject-matter jurisdiction over the claims

presented. See 6WHHO&RY&LWL]HQVIRUD%HWWHU(QY¶W, 86–  ³>:@KHQD
       Case 1:20-cv-00164-GSK Document 72                   Filed 08/18/22   Page 15 of 22

Consol. Court No. 20-00164                                                                  Page 
PUBLIC VERSION

federal court concludes that it lacks subject-matter jurisdiction, the complaint must be dismissed

in its entirety.” Arbaugh v. Y & H Corp.86  )XUWKHUPRUHZKHUHVXEMHFW-

matter jurisdiction is challenged, the “party invoking the [Court of International Trade’s]

jurisdiction has the burden of establishing that jurisdiction.” Wangxiang Am. Corp. v. United

States, 12 F.4th 1369, 1373 (Fed. Cir. 2021) (citing Norsk Hydro Can., Inc. v. United States, 472

)G )HG&LU 

       Here, liquidation of twelve of the seventeen entries before the court has been suspended by

CBP. See Consol. 3OV¶2$45HVSVDW(['HI¶V6XSSO%UDW'HI¶V5HVSDW([1. The

remaining five entries, belonging to Dr. Bronner’s and */ǀ%, have been finally liquidated. Id.;

see also Def.’s Reply at 1–2. The Government acknowledges that its liquidation of the entries was

³HYLGHQWO\LQHUURU´EXWQRWHVWKDW86&(a) provides a statutory remedy for such error.

Def.’s Reply at 1–2; Def.’s Opp. to Pl.’s Mot. for Prelim. Inj. at 1–26HSW(&)1R

(“Def.’s PI Resp.”). Specifically, the statute provides that “any clerical error, mistake of fact, or

other advertence . . . adverse to the importer” regarding

       the liquidation or reliquidation of an entry . . . shall be final and conclusive upon
       all persons (including the United States and any officer thereof) unless a protest is
       filed in accordance with this section, or unless a civil action contesting the denial
       of a protest, in whole or in part, is commenced in the United States Court of
       International Trade.

86& D Although both Dr. Bronner’s and */ǀ% protested the liquidation of their

entries, that protest was denied in light of the issuance of the Initial ($3$'HWHUPLQDWLRQRQ0DUFK

9, 2020, and neither Dr. Bronner’s nor */ǀ% timely appealed. Consol. 3OV¶2$45HVSVDW([

'HI¶V6XSSO%UDW'HI¶V5HVSDW([see 86& D  (providing 180-day

deadline for appeal). Instead, both parties initiated the instant action on August 26, 2020,
       Case 1:20-cv-00164-GSK Document 72                 Filed 08/18/22      Page 16 of 22

Consol. Court No. 20-00164                                                                    Page 16
PUBLIC VERSION

requesting the court’s review of WKH ($3$ 'HWHUPLQDWLRQV under  86&   J  DQG 

86&  F . 7 Compl.; Ascension Compl.

       The court lacks subject-matter jurisdiction over Dr. Bronner’s and */ǀ%’s claims because

the liquidation of the relevant entries is final and conclusive. As stated above, the court’s

jurisdiction over a determination of evasion -- HIIHFWXDWHGE\86&  J DQG86&

  F -- does not independently permit review of the erroneous liquidation of merchandise

subject to that determination. Rather, the court may only review a claim of erroneous liquidation

where that liquidation has been timely protested and the denial of such protest appealed. See 19

86&   D   F   86&   D). Here, while both Dr. Bronner’s and */ǀ%

SURWHVWHGWKHOLTXLGDWLRQRIWKH6XEMHFW(QWULHVQHLWKHU timely contested the denial of those protests

before the court. See Consol. 3OV¶2$45HVSVDW(['HI¶V6XSSO%UDW'HI¶V5HVSDW

([,QGHHGQHLWKHUSDUW\HYHQPHQWLRQVWhose protests in its complaint or motion for judgment

on the agency record. See generally Compl.; */ǀ% Compl.; Pl.’s Br.; Consol. Pls.’ Br.; see also

Def.’s Br. at 17 (noting Dr. Bronner’s failure to address the denied protests). “[F]ailure to

challenge” CBP’s liquidations before the court “result[s] in those liquidations becoming final and

conclusive.” United States v. Am. Home Assur. Co.)G )HG&LU ; see

also United States v. Cherry Hill Textiles, Inc.  )G   )HG &LU   ³7KH

ODQJXDJHRI>86&@WKDWDOLTXLGDWLRQZLOOEHµILQDODQGFRQFOXVLYH¶XQOHVVSURWHVWHG

is sufficiently broad that it indicates that Congress meant to foreclose unprotested issues from


7
  As the court noted in its order of September 30, 2021, time did not elapse for */ǀ%’s appeal
until well after the filing of this case. See Order(&)1R H[SODLQLQJWKDW³WKHFRXUWGRHVQRW
possess subject matter jurisdiction to review entries that have already been liquidated except upon
commencement of an action challenging denial RISURWHVW´EXWQRWLQJWKDW³*/ǀ%PD\\HWWLPHO\
ILOHDQDFWLRQXQGHU86& D FRQWHVWLQJWKHGHQLDORILWVSURWHVW´  By now, however,
the clock has run out on both Dr. Bronner’s and */ǀ%’s opportunities to timely appeal CBP’s
denials.
        Case 1:20-cv-00164-GSK Document 72                   Filed 08/18/22      Page 17 of 22

Consol. Court No. 20-00164                                                                       Page 17
PUBLIC VERSION

being raised in any context, not simply to impose a prerequisite to bringing suit.”) Accordingly,

as the time to contest CBP’s denial of protests has expired, the liquidation of both Dr. Bronner’s

and */ǀ%’s entries is final. As a result, the court lacks subject-matter jurisdiction over those five

entries, and must dismiss the associated complaints. 8

        II.     The Unliquidated Entries

        With respect to the twelve remaining entries, Consolidated Plaintiffs challenge two aspects

of the ($3$ 'HWHUPLQDWLRQV &%3¶V failure to consider whether there was a “change in

circumstances affecting the domestic industry” such that the entries were not covered merchandise,

and CPB’s application of adverse inferences.           As neither challenge identifies an abuse of

discretion, or arbitrary and capricious action, on the part of CBP, the court denies Consolidated

Plaintiffs’ motions for judgment on the agency record. 9

                A.      Changed Circumstances

        First, Consolidated Plaintiffs argue that CBP’s failure to consider CP Kelco’s “corporate

VWUDWHJ\ VKLIW´ UHQGHUHG LWV GHWHUPLQDWLRQ WKDW WKH 6XEMHFW (QWULHV ZHUH FRYHUHG PHUFKDQGLVH

“arbitrary and capricious, an abuse of discretion, and otherwise not in accordance with 19 U.S.C.

 J  % ´&RQVRO3OV¶%UDW0RUHVSHFLILFDOO\&RQVROLGDWHG3ODLQWLIIVFRQWHQGWKDW

because evidence on the record demonstrated that “it is possible or even likely that CP Kelco is

not subject to material injury by oilfield xanthan produced in China,” CBP was thus “required to

refer the matter to [Commerce]” for a changed circumstances review. 10 Id. at 11. Consolidated


8
   The court therefore does not reach Dr. Bronner’s arguments that CBP did not establish by
VXEVWDQWLDO HYLGHQFH WKH RULJLQ RI WKH 6XEMHFW (QWULHV DQG WKDW &%3¶V ILQDO GHWHUPLQDWLRQ ZDV
unlawfully delayed. Pl.’s Br. at 10, 24.
9
  To the extent the court had, as */ǀ%DUJXHV MXULVGLFWLRQRYHU*/ǀ%¶V finally liquidated entries,
its motion for judgment on the agency record would also be denied for the reasons stated herein.
10
   Commerce will initiate a review where “changed circumstances sufficient to warrant a review
H[LVW´86& E  & &RPPHUFHQRW&%3FRQGXFWVFKDQJHGFLUFXPVWDQFHVUHYLHZ
       Case 1:20-cv-00164-GSK Document 72                Filed 08/18/22     Page 18 of 22

Consol. Court No. 20-00164                                                                 Page 18
PUBLIC VERSION

Plaintiffs conclude that, by failing to provide such referral, CBP failed to consider “the interests

and accuracy and fairness” such that it abused its discretion. Id. at 13 (quoting Grobest & I-Mei

Indus. (Vietnam) Co. v. United States, 36 CIT 98, 123 (2012)).

       Consolidated Plaintiffs are incorrect. Their argument relies upon a single email chain

EHWZHHQ&3.HOFRDQG*/ǀ% in which CP Kelco first states (in 2018) that “[r]egrettably, there is

presently no ZANFLO [oilfield xanthan gum] in stock and the plant has just advised us that there

will be no ZANFLO for the foreseeable future, due to a corporate strategy shift for the plant,” and

a year later indicates that it has “resumed production of ZANFLO oilfield xanthan gum and [has]

large quantities available in two package sizes” but that “[a]s in the past, ZANFLO manufacturing

at the Oklahoma plant is inconsistent and not guaranteed. ZANFLO is presently available but it is

impossible to guess if that will continue.” (PDLOIURP.1RUPDQWR2=HOD\DUH*ORE(QHUJ\

32.HOFR,QYRLFH -XQ , P.D. 231(PDLOVIURP.1RUPDQWR2=HOD\D

UH =$1)/2 2LOILHOG ;DQWKDQ *XP IURP .(/&2 -XQ –19, 2019), P.D. 232. Consolidated

Plaintiffs evidently conclude from this exchange that CP Kelco is no longer producing oilfield

xanthan gum in the United States, and is therefore not at risk of injury from low-cost imports of

oilfield xanthan gum from China. Consol. Pls.’ Br. at 10–11. However, there is no indication in

the text of the emails that ZANFLO oilfield xanthan gum has been permanently discontinued --

rather, CP Kelco expressly states that it is manufacturing substantial quantities of ZANFLO. P.D.

232. It thus cannot be discerned how Consolidated Plaintiffs concluded that CP Kelco would

suffer no ill effects if the AD Order were amended to reduce or eliminate duties on oilfield xanthan



86& E   VWDWLQJXQGHUWKHKHDGLQJ³5HYLHZV%DVHGRQ Changed Circumstances”
that “[w]henever the administering authority or the [U.S. International Trade Commission]
receives information . . . which shows changed circumstances sufficient to warrant a review,” it
“shall conduct a review of the determination or agreement”) (emphasis added); see also 19 U.S.C.
   ³7KHWHUPµDGPLQLVWHULQJDXWKRULW\¶PHDQVWKH6HFUHWDU\RI&RPPHUFH´
       Case 1:20-cv-00164-GSK Document 72               Filed 08/18/22    Page 19 of 22

Consol. Court No. 20-00164                                                               Page 19
PUBLIC VERSION

gum. It likewise cannot be discerned on what basis Consolidated Plaintiffs conclude that the

alleged changes in CP Kelco’s production volume would necessitate a changed circumstances

review for the AD Order covering “dry xanthan gum, whether or not coated or blended with other

products [and] regardless of physical form, including but not limited to, solutions, slurries, dry

powders of any particle size, or unground fiber.” 78 Fed. Reg. at 43,143. Consolidated Plaintiffs

have thus identified no record evidence which plausibly supports their contention that changed

circumstances review would be appropriate.

       (YHQLIVXFKUHYLHZZHUHDSSURSULDWHConsolidated Plaintiffs do not plausibly allege that

CBP was obligated to refer the matter to Commerce such that its failure to do so was an abuse of

discretion. Although they contend that CBP should have referred such review under 19 U.S.C.

  E  WKHUHLVQRLQGLFDWLRQWKDW&%3ZDVDVWKDWVHFWLRQUHTXLUHV³XQDEOHWRGHWHUPLQH

whether the merchandise at issue is covered merchandise.” 86&  E  $  Indeed,

Consolidated Plaintiffs themselves argue that the merchandise should not have been covered

merchandise given changed circumstances, not that it was not covered merchandise under the AD

Order in its current form. See Consol. Pls.’ Br. at 10. Nor do Consolidated Plaintiffs make any

argument that a determination of changed circumstances would retroactively apply to the Subject

(QWULHV  Rather, as ORR correctly stated, “[w]hether there may be a change in circumstances

affecting the domestic industry such that the [AD] Order’s scope may be modified by Commerce

at a later date does not change the fact that, at the time of entry, the xantha[n] gum was covered

PHUFKDQGLVH´($3$5HYLHZ Determination at 18. Accordingly, CBP did not abuse its discretion

by declining to refer Consolidated Plaintiffs’ request for a changed circumstances review to

Commerce where such review was not essential to its determination of evasion.
        Case 1:20-cv-00164-GSK Document 72                   Filed 08/18/22      Page 20 of 22

Consol. Court No. 20-00164                                                                       Page 20
PUBLIC VERSION

                B.      Adverse Inferences

        Statute provides that CBP may apply adverse inferences with respect to an interested party,

importer, foreign producer or exporter, or foreign government where such party “has failed to

cooperate by not acting to the best of [its] ability to comply with a request for information.” 19

86&   F  $   F  $   6XFK LQIHUHQFHV PD\ EH XVHG ZLWK UHVSHFW WR VXFK

interested, party, importer, foreign producer or exporter, or foreign government “without regard to

whether another person involved in the same transaction or transactions under examination has

SURYLGHGWKHLQIRUPDWLRQVRXJKW´86& F  % 

        Consolidated Plaintiffs argue that CBP acted arbitrarily and capriciously in determining

that they failed to comply with thH($3$LQYHVWLJDWLRQDQGWKXVLQDSSO\LQJDGYHUVHLQIHUHQFHV

ZLWK UHVSHFW WR WKH DOOHJHG PDQXIDFWXUHUV RI WKH 6XEMHFW (QWULHV  &RQVRO 3OV¶ %U DW 

Specifically, Consolidated Plaintiffs allege that they “cooperated with all of CBP’s requests of

information” and acted to the best of their ability, including by initiating “a legal investigation in

India as to the validity of the certificates of origin and to determine the manufacturer(s) of the

>6XEMHFW(QWULHV@´ such that adverse inferences were not appropriate. Id. DW

        ,QWKH($3$'HWHUPLQDWLRQ, CBP applied adverse inferences upon determining that “the

claimed manufactures either did not respond to CBP’s [requests for information], or failed to

provide most of the information requested in the [request for information]´($3$'HWHUPLQDWLRQ

at 18. “As a result, CBP [applied] adverse inferences and infer[red] that the claimed foreign

manufacturers did not manufacture the imported xanthan gum,” instead determining that the

alleged Indian-origin xanthan gum was transshipped Chinese-origin xanthan gum. Id. at 18–19.

Importantly, these adverse inferences were not applied to Consolidated Plaintiffs, but rather to the

alleged foreign manufacturers -- the same manufacturers that the Consolidated Plaintiffs state they
       Case 1:20-cv-00164-GSK Document 72                Filed 08/18/22     Page 21 of 22

Consol. Court No. 20-00164                                                                 Page 21
PUBLIC VERSION

ZHUHIRUFHGWRVXHLQRUGHUWR³REWDLQGRFXPHQWDWLRQ´UHOHYDQWWRWKH($3$LQYHVWLJDWLRQ&RQVRO

3OV¶%UDW$VLWLVWKXVXQFRQWURYHUWHGWKDWWKHPDQXIDFWXUHUVZHUHXQFRRSHUDWLYe with CBP’s

review, CBP’s application of adverse inferences was not arbitrary, capricious, or an abuse of

discretion.

       To the extent Consolidated Plaintiffs argue that CBP should have delayed the application

of adverse inferences until more accurate information could be obtained through Consolidated

Plaintiffs’ suit of the alleged foreign manufacturers, such argument is unavailing. Consol. Pls.’

Reply at 10. As noted above, adverse inferences may be used against an uncooperative party

“without regard to whether another person involved in the same transaction or transactions under

H[DPLQDWLRQKDVSURYLGHGWKHLQIRUPDWLRQVRXJKW´86& F  %  Thus, CBP could

apply adverse inferences in response to the alleged manufacturers’ failure to cooperate even if

Consolidated Plaintiffs obtained accurate information regarding the original manufacturer and

H[SRUWHURIWKH6XEMHFW(QWULHV

       Finally, as the Government correctly notes, CBP’s inference that the xanthan gum was

produced in China rather than India is independently supported by the record. Def.’s Br. at 27–

28. $VWKH($3$5HYLHZ'HWHUPLQDWLRQKLJKOLJKWHG&KHP)HUWUHSRUWHGWR&%3WKDW³LWLPSRUWV

the xanthan gum into India and then repacks [it]” for export, and that Consolidated Plaintiffs “knew

this fact very well” and had expressly requested that Chem Fert “import [xanthan gum] from China

DQGWKHUHDIWHUUHSDFNLWLQWR,QGLDDQGH[SRUWLWWRWKH8QLWHG6WDWHV´($3$5HYLHZ'HWHUPLQDWLRQ

DW (citing Chem Fert Chems. Resp. to CBP’s Request IRU,QIRUPDWLRQDW $XJ ,

P.D. 13 &' ). ,QGHHG WKH ($3$ 5HYLHZ 'HWHUPLQDWLRQ UHOLHV RQ WKLV UHFRUG HYLGHQFH

without reference to any adverse inferences. Id. As a result, even if the court were to conclude

that the application of adverse inferences was an abuse of discretion, CBP nevertheless “examined
       Case 1:20-cv-00164-GSK Document 72                 Filed 08/18/22     Page 22 of 22

Consol. Court No. 20-00164                                                                   Page 22
PUBLIC VERSION

‘the relevant data’ and articulated ‘a satisfactory explanation’ for [its] decision” in relying on the

record evidence to conclude that the SubjecW(QWULHVFRQVLVWHGRI[DQWKDQJXPIURPPRC. Dep’t

of Com. v. New York6&WDW TXRWLQJMotor Vehicle Mfrs. Ass’n, 463 U.S. at 43).

                                          CONCLUSION

       For the foregoing reasons, the court grants the Government’s motion to dismiss Dr.

Bronner’s claims, DQGOLNHZLVHGLVPLVVHV*/ǀ%¶VFODLPVIRUODFNRIVXEMHFW-matter jurisdiction.

7KHFRXUWIXUWKHUFRQFOXGHVWKDW&%3¶V($3$'HWHUPLQDWLRQVZHUHQRWDUELWUDU\FDSULFLRXVRU

an abuse of discretion with respect to Consolidated Plaintiffs Ascension, UMD, and Crude, and

therefore denies the Consolidated Plaintiffs’ motions for judgment on the agency record. CBP’s

($3$'HWHUPLQDWLRQVDUHWKHUHIRUHDIILUPHG

       SO ORDERED.

                                                                    /s/     Gary S. Katzmann
                                                                             Judge
 Dated: August 18, 2022
        New York, New York
